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OF TEXAS



NO. AP-76,343




EX PARTE MARIO MARTIN, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 1166085 IN THE 228TH DISTRICT COURT
FROM HARRIS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.
&nbsp;
O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of possession of a
controlled substance and sentenced to two years’ imprisonment. He did not appeal his conviction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends, among other things, that he is actually innocent. The trial court made
findings of fact and concluded that Applicant has established that he is actually innocent. We agree. 
Relief is granted. Ex parte Tuley, 109 S.W.3d 388 (Tex. Crim. App. 2002). The judgment in Cause
No. 1166085 in the 228th Judicial District Court of Harris County is set aside, and Applicant is
remanded to the custody of the Sheriff of Harris County to answer the charge against him.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Copies of this opinion shall be sent to the Texas Department of Criminal Justice–Correctional
Institutions Division and Pardons and Paroles Division.
&nbsp;
Delivered: May 5, 2010
Do Not Publish


